                  Case 3:20-cv-05671-JD Document 622-46 Filed 12/21/23 Page 1 of 7
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               Premier Tier
               Premier Tier Requirements
                            Requirements
               Edited 24
               Edited 207-31
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               v1.07 2020-06-12
               v1.07 2020-06-12
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               1. Introduction
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                [OEM] [Carriers]
               [OEM]  [Carriers]                                                                                                                                   e 2.2 Gess-3e 1..eno

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               This document
               This document pertains
                             pertains to
                                      to all
                                         all Premier
                                             Premier Devices,
                                                     Devices, released
                                                              released under
                                                                       under the
                                                                             the Google
                                                                                 Google Revenue
                                                                                        Revenue Share
                                                                                                Share Agreement.
                                                                                                      Agreement. All
                                                                                                                 All Premier
                                                                                                                     Premier Devices
                                                                                                                             Devices MUST
                                                                                                                                     MUST adhere
                                                                                                                                          adhere to
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               the requirements described
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                                          in the
                                             the Android
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                                                                                                 (CDD) and
                                                                                                       and GMS
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               requirements will
               requirements      apply in
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                                          accordance with the terms
                                                     with the terms set
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                                                                        forth below,
                                                                              below, unless
                                                                                     unless agreed
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                                                                                                                  in writing between Google
                                                                                                                     writing between Google and
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               Company.
               Company.                                                                                                                                                  0M11tsetasçWaa'd
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               Capitalized terms
               Capitalized terms used
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               Agreement. Any
               Agreement. Any terms
                              terms used
                                    used but
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               requirements for
               requirements for Google
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               2.. Hardware requirements
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               [OEM]                                                                                                                                               oo 4.6.8
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               2.1 Minimum
                   Minimum hardware
                           hardware specifications
                                    specifications
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               2.1                                                                                                                                                 o 3.5.11
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                Catvqoty
                Category           Requirement
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                Chipset (SoC)
                Chipset (SoC)      Google Hotwords
                                   Google Hotwords detection
                                                   detection MUST
                                                             MUST be
                                                                  be implemented
                                                                     implemented on
                                                                                 on the
                                                                                    the DSP
                                                                                        DSP (Digital
                                                                                            (Digital Signal
                                                                                                     Signal Processor),
                                                                                                            Processor), if
                                                                                                                        if Premier
                                                                                                                           Premier Device
                                                                                                                                   Device supports
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                                                                                                                                                   it.
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                Screen width       RECOMMENDED, have
                                   RECOMMENDED, have a
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                USB
                USB                RECOMMENDED, fully
                                   RECOMMENDED, fully specification
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                                                                    compliant USB
                                                                              USB type-C
                                                                                  type-C port.
                                                                                         port.
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                NFC
                N FC               RECOMMENDED, enabled
                                   RECOMMENDED, enabled by
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                                                           Default Out-of-box
                                                                   Out-of-box
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                                                                                                                                                                      1111:? :::i:at:us
                                                                                                                                                                             Status 051 has

                Camera
                Camera             MUST meet
                                   MUST meet requirements
                                             requirements described
                                                          described in
                                                                    in section
                                                                       section 2.2
                                                                               2.2 (Google
                                                                                   (Google Lens),
                                                                                           Lens), if
                                                                                                  if Premier
                                                                                                     Premier Device
                                                                                                             Device supports
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                Assistant
                Assistant
                                   MUST be
                                   MUST    be designed
                                               designed per,
                                                         per, and
                                                              and mapped
                                                                  mapped to
                                                                         to Google
                                                                            Google Assistant
                                                                                    Assistant intent
                                                                                              intent per,
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                                                                                                          latest Dedicated
                                                                                                                 Dedicated Hardware
                                                                                                                           Hardware Affordances
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                hardware
                hardware
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                                            al.mr,, unless agreed upon
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                                                                                                              and Company.
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                button                                                                                                                                             o           Stas..111(3eine
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               2.2
               2   Google Lens
                .2 Google Lens
               Premier Devices
               Premier Devices MUST
                               MUST adhere
                                    adhere to
                                           to the following Google
                                              the following Google Lens
                                                                   Lens requirements,
                                                                        requirements, if
                                                                                      if Premier
                                                                                         Premier Device
                                                                                                 Device supports
                                                                                                        supports it:
                                                                                                                 it:


                   Camera hardware
                 . Camera hardware requirements
                                   requirements described
                                                described 51h.ena
                                                            ,555
                    Vendor Camera
                  • Vendor Camera requirements
                                  requirements described
                                               described h&c:.
                                                         here.




               3..Software requirements
               3
                [OEM] [Carriers]
               [OEM]  [Carriers]




               3.1 Android
               3.1 Android platform
                           platform version
                                    version
               Company MUST:
               Company MUST: Launch
                             Launch all
                                    all Premier
                                        Premier Devices
                                                Devices with the latest
                                                        with the latest Android
                                                                        Android platform
                                                                                platform version
                                                                                         version or,
                                                                                                 or, if
                                                                                                     if the
                                                                                                        the latest
                                                                                                            latest version
                                                                                                                   version was released less
                                                                                                                           was released less than
                                                                                                                                             than 120
                                                                                                                                                  120
               days prior
               days prior to
                          to launch,
                             launch, then
                                     then with either the
                                          with either the latest
                                                          latest Android
                                                                 Android platform
                                                                         platform version
                                                                                  version or
                                                                                          or the
                                                                                             the version
                                                                                                 version released
                                                                                                         released immediately
                                                                                                                  immediately prior
                                                                                                                              prior to
                                                                                                                                    to the
                                                                                                                                       the latest
                                                                                                                                           latest Android
                                                                                                                                                  Android
               platform version.
               platform version.



                                                                                                                                                              EXHIBIT 627

CONFIDENTIAL
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                                                                                                                                                     GOOG-PLAY-007125883

                                                                                                                                                          EXHIBIT 627-001
                  Case 3:20-cv-05671-JD Document 622-46 Filed 12/21/23 Page 2 of 7
               3.2 Bootloader
               3.2 Bootloader
                 • SHOULD
                 • SHOULD support
                          support the
                                  the fastboot
                                      fastboot protocol.
                                               protocol.
                 • SHOULD
                 • SHOULD support
                          support unlocking
                                  unlocking via
                                            via fastboot
                                                fasthootoem  unlock.
                                                         oem unlock.
                 •A
                 • A warning message MUST
                     warning message MUST be
                                          be presented
                                             presented upon
                                                       upon boot
                                                            boot on
                                                                 on Premier
                                                                    Premier Devices
                                                                            Devices with unlocked bootloader.
                                                                                    with unlocked bootloader.




               3.3
               3   Client IDs
                .3 Client IDs
               Premier Devices
               Premier Devices MUST
                               MUST correctly
                                    correctly implement
                                              implement and
                                                        and use
                                                            use Client
                                                                Client IDs
                                                                       IDs assigned
                                                                           assigned by
                                                                                    by Google
                                                                                       Google and
                                                                                              and as
                                                                                                  as instructed
                                                                                                     instructed by
                                                                                                                by Google,
                                                                                                                   Google, which may include
                                                                                                                           which may include different
                                                                                                                                             different
               Client IDs
               Client IDs for
                          for different
                              different product
                                        product properties.
                                                properties.




               3.4
               3   Feature flag
                .4 Feature flag
               Premier Devices
               Premier Devices MUST
                               MUST declare
                                    declare com.google.android.feature.PREMIER
                                            corn. google.android.feature.PREMIER- TIER
                                                                                  TIER feature
                                                                                       feature flag.
                                                                                               flag.




               3.5
               3   GMS SetupWizard
                .5 GMS SetupWizard
                • Decision
                . Decision point
                           point screen
                                 screen MUST
                                        MUST be
                                             be presented
                                                presented to
                                                          to users.
                                                             users.
                  GMS SetupWizard
                . GMS SetupWizard screens
                                  screens MUST
                                          MUST be
                                               be shown
                                                  shown in
                                                        in the
                                                           the following
                                                               following order:
                                                                         order: Google
                                                                                Google Assistant,
                                                                                       Assistant, Google
                                                                                                  Google Pay,
                                                                                                         Pay, Google
                                                                                                              Google One.
                                                                                                                     One.
                 • Google
                 • Google GMS
                          GMS SetupWizard
                              SetupWizard screens
                                          screens MUST
                                                  MUST come
                                                       come before
                                                            before the
                                                                   the decision
                                                                       decision point
                                                                                point screen.
                                                                                      screen.
                 • Additional
                 • Additional OEM
                              OEM and
                                  and carrier
                                      carrier setup
                                              setup screens
                                                    screens MUST
                                                            MUST come
                                                                 come after
                                                                      after the
                                                                            the decision
                                                                                decision point
                                                                                         point screen.
                                                                                               screen.
                • Specific
                . Specific GMS
                           GMS SetupWizard
                               SetupWizard integrations
                                           integrations are
                                                        are further
                                                            further specified
                                                                    specified in
                                                                              in sections
                                                                                 sections 3.6.4
                                                                                          3.6.4 (Google
                                                                                                (Google One),
                                                                                                        One), 3.6.7
                                                                                                              3.6.7 (Google
                                                                                                                    (Google Pay),
                                                                                                                            Pay), and
                                                                                                                                  and 3.6.8
                                                                                                                                      3.6.8 (Google
                                                                                                                                            (Google
                    Assistant).
                    Assistant).




               3.6
               3                        (GMS) Application Preloads and
                .6 Google Mobile Service(GMS)
               Placements

               3.6.1
               3     Google Apps
                .6.1 Google Apps Preloads
                                 Preloads
                  Core and
                . Core and Flexible
                           Flexible Applications
                                    Applications (as
                                                 (as indicated
                                                     indicated in
                                                               in the
                                                                  the Google
                                                                      Google Product
                                                                             Product Geo-Availability
                                                                                     Geo-Availability Chart121  MUST be
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                    chart
                    chart
                   The following
                 • The following optional
                                 optional GMS
                                          GMS Applications
                                              Applications (as
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                                                                            the Google
                                                                                Google Product
                                                                                       Product Geo-Availability
                                                                                               Geo-Availability Chart121  MUST be
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                    such chart:
                          Communications Suite
                       oo Communications Suite apps
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                                Phone (Dialer)
                              • Phone (Dialer)
                                Messages
                              • Messages
                                Contacts
                              • Contacts
                       o• Gboard
                          Gboard
                          Google Assistant
                       oo Google Assistant
                         Google Calendar
                       o Google Calendar
                          Google News
                       oo Google News
                         Google One
                       o Google One
                          Google Pay
                       oo Google Pay
                       o• Google
                          Google Podcasts
                                 Podcasts
                   Further placement
                 • Further placement requirements
                                     requirements for
                                                  for preloaded
                                                      preloaded Google
                                                                Google Applications
                                                                       Applications are
                                                                                    are indicated
                                                                                        indicated in
                                                                                                  in sections
                                                                                                     sections 3.6.5
                                                                                                              3.6.5 (Communications
                                                                                                                    (Communications Suite),
                                                                                                                                    Suite), 3.6.6
                                                                                                                                            3.6.6
                   (Google
                   (       Lens), 3.6.7
                    Google Lens), 3.6.7 (Google
                                        (Google Pay),
                                                Pay), and
                                                      and 3.6.9
                                                          3.6.9 (Google
                                                                (Google Photos).
                                                                        Photos).
                   All mandatory
                 • All mandatory preloads
                                 preloads (as
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                                                        under bullets
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                    partition. The
                    partition. The following
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                                                             via Play
                                                                 Play Auto-Install
                                                                      Auto-Install..
                          Contacts
                       oo Contacts
                          Duo
                       oo Duo
                         Google Drive
                       o Google Drive
                         Google News
                       o Google
                       o        News
                       o• Google
                          Google One
                                 One
                       o• Google
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                                 Pay (see
                                     (see section
                                          section 3.6.7
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                                                            more information)
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                       oo Google Podcasts
                       o• Play
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               Google may
               Google may change
                          change which applications have
                                 which applications have to
                                                         to be
                                                            be preloaded
                                                               preloaded in
                                                                         in the
                                                                            the Google
                                                                                Google folder
                                                                                       folder ("Google
                                                                                              ('Google Folder
                                                                                                       Folder Applications")
                                                                                                              Applications") with 90 days
                                                                                                                             with 90 days prior
                                                                                                                                          prior written
                                                                                                                                                written
               notice to
               notice to Company.
                         Company. During
                                  During the
                                         the Term,
                                             Term, the
                                                   the number
                                                       number of
                                                              of Google
                                                                 Google Folder
                                                                        Folder Applications
                                                                               Applications will not, at
                                                                                            will not, at anytime,
                                                                                                         anytime, exceed
                                                                                                                  exceed (i)
                                                                                                                         (i) seven
                                                                                                                             seven (7)
                                                                                                                                   (7) applications
                                                                                                                                       applications in
                                                                                                                                                    in
               addition to
               addition to the
                           the applications
                               applications that
                                            that are
                                                 are required
                                                     required under
                                                              under the
                                                                    the MADA
                                                                        MADA or,
                                                                             or, as
                                                                                 as applicable,
                                                                                    applicable, the EMADA, and
                                                                                                the EMADA, and (ii)
                                                                                                               (ii) an
                                                                                                                    an aggregate
                                                                                                                       aggregate of
                                                                                                                                 of 510MB
                                                                                                                                    51 OMB of
                                                                                                                                           of storage
                                                                                                                                              storage for
                                                                                                                                                      for




CONFIDENTIAL
CONFIDENTIAL                                                                                                                                     GOOG-PLAY-007125884
                                                                                                                                                 GOOG-PLAY-007125884

                                                                                                                                                     EXHIBIT 627-002
                  Case 3:20-cv-05671-JD Document 622-46 Filed 12/21/23 Page 3 of 7
               more than
               more than 2GB
                         2GB of
                             of RAM
                                RAM and
                                    and 100MB
                                        100MB for
                                              for 2GB
                                                  2GB or
                                                      or less
                                                         less of
                                                              of RAM.
                                                                 RAM. Further,
                                                                      Further, Google
                                                                               Google may
                                                                                      may require
                                                                                          require no
                                                                                                  no more
                                                                                                     more than
                                                                                                          than two
                                                                                                               two (2)
                                                                                                                   (2) additional
                                                                                                                       additional applications
                                                                                                                                  applications in
                                                                                                                                               in total
                                                                                                                                                  total
               during the
               during the Term
                          Term to
                               to be
                                  be preloaded
                                     preloaded on
                                               on the
                                                  the Plus
                                                      Plus One
                                                           One Screen
                                                               Screen (Plus
                                                                      ("Plus One
                                                                             One Screen
                                                                                 Screen Applications"),
                                                                                        Applications"), each
                                                                                                        each with 90 days
                                                                                                             with 90 days prior
                                                                                                                          prior written notice to
                                                                                                                                written notice to
               Company. The
               Company. The Plus
                            Plus One
                                 One Screen
                                     Screen Applications
                                            Applications should
                                                         should not
                                                                not change
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                                                                           during the
                                                                                  the Term.
                                                                                      Term. Company
                                                                                            Company may
                                                                                                    may request
                                                                                                        request a
                                                                                                                awaiver  from Google
                                                                                                                  waiver from Google to
                                                                                                                                     to not
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                                                                                                                                            preload
               certain applications,
               certain applications, which
                                     which will be granted
                                           will be granted at
                                                           at Google's
                                                              Google's sole
                                                                       sole discretion.
                                                                            discretion. For
                                                                                        For both
                                                                                            both the
                                                                                                 the Google
                                                                                                     Google Folder
                                                                                                            Folder Application
                                                                                                                   Application and
                                                                                                                               and Plus
                                                                                                                                   Plus One
                                                                                                                                        One Screen
                                                                                                                                            Screen
               Applications, Google
               Applications, Google will not change
                                    will not change the
                                                    the preload
                                                        preload requirements
                                                                requirements more
                                                                             more than
                                                                                  than once
                                                                                       once every
                                                                                            every six
                                                                                                  six months
                                                                                                      months during
                                                                                                             during the Term. For
                                                                                                                    the Term. For the
                                                                                                                                  the sake
                                                                                                                                      sake of
                                                                                                                                           of clarity,
                                                                                                                                              clarity, any
                                                                                                                                                       any
               such change
               such change to
                           to the
                              the Premier
                                  Premier Device
                                          Device Program
                                                 Program Requirements
                                                         Requirements will only apply
                                                                      will only apply to
                                                                                      to Premier
                                                                                         Premier Devices
                                                                                                 Devices that
                                                                                                         that are
                                                                                                              are launched
                                                                                                                  launched after
                                                                                                                           after such
                                                                                                                                 such change
                                                                                                                                      change is
                                                                                                                                             is made
                                                                                                                                                made
               and will
               and      not apply
                   will not apply to Premier Devices
                                  to Premier Devices that
                                                     that are
                                                          are launched
                                                              launched before
                                                                       before such
                                                                              such change
                                                                                   change was made.
                                                                                          was made.



               3.6.2
               3     Android Go
                .6.2 Android Go
               Android Go
               Android Go Devices
                          Devices having
                                  having 2GB
                                         2GB or
                                             or less
                                                less of
                                                     of RAM
                                                        RAM MUST
                                                            MUST adhere
                                                                 adhere to
                                                                        to the
                                                                           the following
                                                                               following requirements,
                                                                                         requirements, unless
                                                                                                       unless agreed
                                                                                                              agreed upon
                                                                                                                     upon otherwise
                                                                                                                          otherwise in
                                                                                                                                    in writing
                                                                                                                                       writing
               between Google
               between Google and
                              and Company:
                                  Company:


                 • Core
                 • Core Applications
                        Applications (as
                                     (as indicated
                                         indicated in
                                                   in the
                                                      the Google
                                                          Google Product
                                                                 Product Geo-Availability
                                                                         Geo-Availability Chart[2]
                                                                                          Chart[2]) MUST be
                                                                                                  )MUST  be preloaded
                                                                                                            preloaded as
                                                                                                                      as set
                                                                                                                         set out
                                                                                                                             out in
                                                                                                                                 in such
                                                                                                                                    such chart
                                                                                                                                         chart

                 • The
                 • The following
                       following optional
                                 optional Applications
                                          Applications (as
                                                       (as indicated
                                                           indicated in
                                                                     in the
                                                                        the Google
                                                                            Google Product
                                                                                   Product Geo-Availability
                                                                                           Geo-Availability Chart[2]  MUST be
                                                                                                                    )MUST
                                                                                                            Chart[2])      be preloaded
                                                                                                                              preloaded on
                                                                                                                                        on devices
                                                                                                                                           devices with
                                                                                                                                                   with
                    less than
                    less than 2GB
                              2GB of
                                  of RAM:
                                     RAM:
                       o
                       o   Files
                           Files
                         Messages
                       o Messages
                         Phone (Dialer)
                       o Phone (Dialer)
                 • The
                 • The following
                       following optional
                                 optional Applications
                                          Applications (as
                                                       (as indicated
                                                           indicated in
                                                                     in the
                                                                        the Google
                                                                            Google Product
                                                                                   Product Geo-Availability
                                                                                           Geo-Availability Chart[2]
                                                                                                            Chart[2]) MUST be
                                                                                                                    )MUST  be preloaded
                                                                                                                              preloaded on
                                                                                                                                        on devices
                                                                                                                                           devices with
                                                                                                                                                   with
                    2GB of
                    2GB of RAM:
                           RAM:
                         Contacts
                       o Contacts
                          Files
                       Oo Files
                         Google Calendar
                       o Google Calendar
                         Google News
                       o Google News
                         Google One
                       o Google One
                       O• Messages
                          Messages
                         Phone (Dialer)
                       o Phone (Dialer)
                       o• Play
                          Play Movies
                               Movies
                • Assistant
                . Assistant Go
                            Go and
                               and Google
                                   Google Duo
                                          Duo icons
                                              icons MUST
                                                    MUST exist
                                                         exist on
                                                               on the
                                                                  the Default
                                                                      Default Home
                                                                              Home Screen.
                                                                                   Screen.
                 • Phone
                 • Phone (Dialer),
                         (Dialer), Messages,
                                   Messages, and
                                             and Chrome
                                                 Chrome Browser
                                                        Browser icons
                                                                icons MUST
                                                                      MUST be
                                                                           be placed
                                                                              placed on
                                                                                     on the
                                                                                        the Application
                                                                                            Application Dock
                                                                                                        Dock (hotseat).
                                                                                                             (hotseat).
                 • All
                 • All preloaded
                       preloaded 1P
                                 1Papps
                                    apps not
                                         not on
                                             on the
                                                the Default
                                                    Default Home
                                                            Home Screen
                                                                 Screen or
                                                                        or the Application Dock
                                                                           the Application Dock (hotseat)
                                                                                                (hotseat) MUST
                                                                                                          MUST be
                                                                                                               be placed
                                                                                                                  placed in
                                                                                                                         in Google
                                                                                                                            Google folder
                                                                                                                                   folder on
                                                                                                                                          on the
                                                                                                                                             the
                    Default Home
                    Default Home Screen.
                                 Screen.




               3.6.3
               3     Google Search
                .6.3 Google Search
               Subject to
               Subject to any
                          any Geographic
                              Geographic Exceptions
                                         Exceptions set
                                                    set forth
                                                        forth in
                                                              in the
                                                                 the Google
                                                                     Google Mobile
                                                                            Mobile Revenue
                                                                                   Revenue Share
                                                                                           Share Agreement,
                                                                                                 Agreement, all
                                                                                                            all Premier
                                                                                                                Premier Devices
                                                                                                                        Devices MUST
                                                                                                                                MUST adhere
                                                                                                                                     adhere to
                                                                                                                                            to the
                                                                                                                                               the
               following requirements:
               following requirements:

                • All
                . All Search
                      Search Access
                             Access Points
                                    Points (as
                                           (as defined
                                               defined in
                                                       in the Google Mobile
                                                          the Google Mobile Revenue
                                                                            Revenue Share
                                                                                    Share Agreement)
                                                                                          Agreement) MUST
                                                                                                     MUST be
                                                                                                          be set
                                                                                                             set to
                                                                                                                 to Google.com
                                                                                                                    Google.com or,
                                                                                                                               or, if
                                                                                                                                   if applicable,
                                                                                                                                      applicable, the
                                                                                                                                                  the
                    local Google
                    local Google domain
                                 domain in
                                        in the
                                           the country
                                               country where the Premier
                                                       where the Premier Device
                                                                         Device is
                                                                                is distributed;
                                                                                   distributed;
                • Google-provided
                . Google-provided widget MUST be
                                  widget MUST be placed
                                                 placed on
                                                        on the Default Home
                                                           the Default Home Screen;
                                                                            Screen; and
                                                                                    and
                 • Search
                 • Search Launcher
                          Launcher Services
                                   Services API[
                                            API[]] MUST
                                                   MUST be
                                                        be implemented,
                                                           implemented, which allows a
                                                                        which allows alauncher
                                                                                       launcher to
                                                                                                to integrate
                                                                                                   integrate the
                                                                                                             the Google
                                                                                                                 Google Discover
                                                                                                                        Discover on
                                                                                                                                 on the
                                                                                                                                    the (overlay)
                                                                                                                                        (overlay)
                    Minus One
                    Minus One Screen,
                              Screen, Hotword,
                                      Hotword, and/or
                                               and/or prewarmed
                                                      prewarmed search
                                                                search Ul
                                                                       UI by
                                                                          by swiping
                                                                             swiping right
                                                                                     right from
                                                                                           from the
                                                                                                the Default
                                                                                                    Default Home
                                                                                                            Home Screen,
                                                                                                                 Screen, This
                                                                                                                         This MUST
                                                                                                                              MUST be
                                                                                                                                   be the
                                                                                                                                      the sole
                                                                                                                                          sole feed
                                                                                                                                               feed
                    page.
                    page.



               3.6.4
               3     Google One
                .6.4 Google One
               Premier Devices
               Premier Devices MUST
                               MUST include
                                    include Google
                                            Google One
                                                   One setup
                                                       setup wizard integration once
                                                             wizard integration once requirements
                                                                                     requirements for
                                                                                                  for such
                                                                                                      such integration
                                                                                                           integration are
                                                                                                                       are made
                                                                                                                           made available.
                                                                                                                                available.




               3.6.5
               3     Communications Suite
                .6.5 Communications Suite'   Contacts, Duo,
                                          '- Contacts, Duo, Messages,
                                                            Messages, Phone
                                                                      Phone (Dialer)
                                                                          - (Dialer)
               app
               app
               Premier Devices
               Premier Devices MUST
                               MUST have
                                    have Contacts,
                                         Contacts, Duo,
                                                   Duo, Messages,
                                                        Messages, and
                                                                  and Phone
                                                                      Phone (Dialer)
                                                                            (Dialer) apps,
                                                                                     apps, in
                                                                                           in each
                                                                                              each case
                                                                                                   case that
                                                                                                        that is
                                                                                                             is Google-provided,
                                                                                                                Google-provided, unless
                                                                                                                                 unless agreed
                                                                                                                                        agreed upon
                                                                                                                                               upon
               otherwise in
               otherwise in writing between Google
                            writing between Google and
                                                   and Company.
                                                       Company.

                 • Messages:
                 • Messages: MUST
                             MUST be
                                  be set
                                     set as
                                         as default
                                            default and
                                                    and placed
                                                        placed in
                                                               in the
                                                                  the Application
                                                                      Application Dock
                                                                                  Dock
                 • Duo:
                 • Duo: MUST
                        MUST be
                             be placed
                                placed on
                                       on the
                                          the Default
                                              Default Home
                                                      Home Screen
                                                           Screen outside
                                                                  outside of
                                                                          of Google
                                                                             Google folder;
                                                                                    folder; Duo
                                                                                            Duo video
                                                                                                video integrations
                                                                                                      integrations MUST
                                                                                                                   MUST be
                                                                                                                        be retained
                                                                                                                           retained in
                                                                                                                                    in Messages,
                                                                                                                                       Messages,
                    Phone (Dialer),
                    Phone (Dialer), and
                                    and Contacts;
                                        Contacts; Duo
                                                  Duo Ready
                                                      Ready requirements[81
                                                            requirements[l MUST
                                                                            MUST be
                                                                                 be implemented
                                                                                    implemented and
                                                                                                and Duo-ready
                                                                                                    Duo-ready certification
                                                                                                              certification MUST
                                                                                                                            MUST be
                                                                                                                                 be completed
                                                                                                                                    completed

                 • Phone
                 • Phone (Dialer):
                         (Dialer): MUST
                                   MUST be
                                        be set
                                           set as
                                               as default
                                                  default and
                                                          and placed
                                                              placed in
                                                                     in the
                                                                        the Application
                                                                            Application Dock,
                                                                                        Dock, and
                                                                                              and MUST
                                                                                                  MUST have
                                                                                                       have Audio-based
                                                                                                            Audio-based Features
                                                                                                                        FeaIures[g11implemented.
                                                                                                                                    implemented.
                 • Contacts:
                 • Contacts: MUST
                             MUST be
                                  be placed
                                     placed inside
                                            inside Google
                                                   Google folder
                                                          folder on
                                                                 on the
                                                                    the Default
                                                                        Default Home
                                                                                Home Screen.
                                                                                     Screen.




               3.6.6
               3     Google Lens
                .6.6 Google Lens
               U! Placement
               Ul Placement




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                                                                                                                                                 GOOG-PLAY-007125885

                                                                                                                                                     EXHIBIT 627-003
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                 • The
                 . The Google
                       Google Lens
                              Lens Ul
                                   UI element
                                      element MUST
                                              MUST be
                                                   be surfaced
                                                      surfaced to
                                                               to the
                                                                  the left
                                                                      left or
                                                                           or right
                                                                              right of
                                                                                    of the
                                                                                       the shutter,
                                                                                           shutter, unless
                                                                                                    unless agreed
                                                                                                           agreed upon
                                                                                                                  upon otherwise
                                                                                                                       otherwise in
                                                                                                                                 in writing between
                                                                                                                                    writing between
                     Google and
                     Google and Company.
                                Company.


               Label Requirements
               Label Requirements


               If the
               If the Google
                      Google Lens
                             Lens Ul
                                  UI element
                                     element is
                                             is labeled:
                                                labeled:


                 • The
                 . The label
                       label text
                             text MUST
                                  MUST be
                                       be "Google
                                          "Google Lens".
                                                  Lens".
                 • The
                 . The "Google
                       "Google Lens"
                               Lens" string
                                     string MUST
                                            MUST NOT
                                                 NOT be
                                                     be translated.
                                                        translated.




               3.6.7
               3     Google Pay
                .6.7 Google Pay
               Subject to
               Subject to app
                          app availability
                              availability and
                                           and technical
                                               technical readiness,
                                                         readiness, and
                                                                    and unless
                                                                        unless agreed
                                                                               agreed upon
                                                                                      upon otherwise
                                                                                           otherwise in
                                                                                                     in writing by Google
                                                                                                        writing by Google and
                                                                                                                          and Company,
                                                                                                                              Company,


                 • SUW:
                 • SUW: Payments
                        Payments setup
                                 setup MUST
                                       MUST be
                                            be integrated
                                               integrated within Google Setup
                                                          within Google Setup Wizard
                                                                              Wizard flow
                                                                                     flow on
                                                                                          on all
                                                                                             all Premier
                                                                                                 Premier Devices
                                                                                                         Devices operating
                                                                                                                 operating with Android P
                                                                                                                           with Android Por
                                                                                                                                          or
                    subsequent OS
                    subsequent OS versions.
                                  versions,
                 • Placements:
                 . Placements: Google
                               Google Pay
                                      Pay app
                                          app MUST
                                              MUST be
                                                   be placed
                                                      placed in
                                                             in the
                                                                the Google
                                                                    Google folder
                                                                           folder on
                                                                                  on Default
                                                                                     Default Home
                                                                                             Home Screen.
                                                                                                  Screen.
                 • Power
                 • Power button:
                         button: Power
                                 Power button
                                       button long
                                              long press
                                                   press MUST
                                                         MUST be
                                                              be set
                                                                 set to
                                                                     to invoke
                                                                        invoke Quk.k
                                                                               Qui:.k A err,
                                                                                        err, WAet
                                                                                             Wullet on
                                                                                                    on devices
                                                                                                       devices running
                                                                                                               running Android
                                                                                                                       Android R
                                                                                                                               Ror
                                                                                                                                 or higher.
                                                                                                                                    higher.
                 • NFC:
                 . NFC: NFC
                        NFC MUST
                            MUST be
                                 be turned
                                    turned on
                                           on out
                                              out of
                                                  of box
                                                     box for
                                                         for NFC
                                                             NFC devices
                                                                 devices
                   Default: Google
                 . Default: Google Pay
                                   Pay MUST
                                       MUST be
                                            be set
                                               set as
                                                   as default
                                                      default payment
                                                              payment service
                                                                      service on
                                                                              on device.
                                                                                 device.


               The Google
               The Google Pay
                          Pay specifications
                              specifications detailed
                                             detailed beer
                                                      beer MUST
                                                           MUST be
                                                                be implemented.
                                                                   implemented.




               3.6.8
               3     Google Assistant
                .6.8 Google Assistant
               Premier Devices
               Premier Devices MUST
                               MUST include
                                    include Google
                                            Google Assistant
                                                   Assistant setup
                                                             setup wizard integration as
                                                                   wizard integration as described
                                                                                         described here.
                                                                                                   here




               3.6.9
               3     Google Photos
                .6.9 Google Photos
               Google Photos
               Google Photos on
                             on Premier
                                Premier Devices
                                        Devices MUST
                                                MUST be
                                                     be directly
                                                        directly accessible
                                                                 accessible from
                                                                            from Company's
                                                                                 Company's camera
                                                                                           camera application
                                                                                                  application by
                                                                                                              by swiping
                                                                                                                 swiping from
                                                                                                                         from camera
                                                                                                                              camera to
                                                                                                                                     to the
                                                                                                                                        the last
                                                                                                                                            last
               photo taken
               photo taken or
                           or tapping
                              tapping on
                                      on the
                                         the thumbnail
                                             thumbnail of
                                                       of the
                                                          the last
                                                              last photo
                                                                   photo taken
                                                                         taken on
                                                                               on the
                                                                                  the camera.
                                                                                      camera.


               By using
               By using the
                        the Google
                            Google Photos
                                   Photos OEM
                                          OEM APIs,
                                              APIs, Company
                                                    Company agrees
                                                            agrees to
                                                                   to be
                                                                      be bound
                                                                         bound by
                                                                               by the
                                                                                  the Google
                                                                                      Google APIs
                                                                                             APIs Terms
                                                                                                  Terms of
                                                                                                        of Service,
                                                                                                           Service, the
                                                                                                                    the current
                                                                                                                        current version
                                                                                                                                version of
                                                                                                                                        of which is
                                                                                                                                           which is
               available at
               available at ht:rr;            gong   go,gg$,,,rgsf.



               3.6.10
               3      Google Apps
                .6.10 Google Apps Placement
                                  Placement
                 • Google
                 . Google Duo
                          Duo icon
                              icon MUST
                                   MUST exist
                                        exist on
                                              on the Default Home
                                                 the Default Home Screen.
                                                                  Screen.
                 • Google
                 • Google A
                          Arnirtret        ape icon
                            .-)sst...E.r,t Lap icon MUST
                                                    MUST exist
                                                         exist on
                                                               on the
                                                                  the Default
                                                                      Default Home
                                                                              Home Screen
                                                                                   Screen (Plus
                                                                                          (Plus One
                                                                                                One Screen
                                                                                                    Screen on
                                                                                                           on EEA
                                                                                                              EEA devices).
                                                                                                                  devices).
                 • Google
                 • Google folder
                          folder on
                                 on Default
                                    Default Home
                                            Home Screen
                                                 Screen MUST
                                                        MUST have
                                                             have the
                                                                  the following
                                                                      following app
                                                                                app icons:
                                                                                    icons:
                        oo Contacts
                           Contacts
                        oo Google
                           Google Calendar
                                  Calendar
                          Google News
                        o Google News
                        o• Google
                           Google One
                                  One
                        oo Google
                           Google Pay
                                  Pay app
                                      app
                        oo Google
                           Google Podcasts
                                  Podcasts




               3.6.11
               3      Application Dock
                .6.11 Application Dock (a.k.a.
                                       (a.k.a. hotseat)
                                               hotseat) layouts
                                                        layouts
                   Premier Devices
                 . Premier Devices MUST
                                   MUST include
                                        include Phone
                                                Phone (Dialer),
                                                      (Dialer), Messages,
                                                                Messages, and
                                                                          and Chrome
                                                                              Chrome Browser
                                                                                     Browser apps
                                                                                             apps in
                                                                                                  in the
                                                                                                     the Application
                                                                                                         Application Dock
                                                                                                                     Dock unless
                                                                                                                          unless agreed
                                                                                                                                 agreed upon
                                                                                                                                        upon
                    otherwise in
                    otherwise in writing between Google
                                 writing between Google and
                                                        and Company.
                                                            Company.
                   Google-provided widget
                 • Google-provided        SHOULD be
                                   widget SHOULD be visible
                                                    visible on
                                                            on Overview,
                                                               Overview, a.k.a.
                                                                         a.k.a. Recent
                                                                                Recent apps.
                                                                                       apps.




               3.7
               3.7 Application preloads
               Unless otherwise
               Unless otherwise specified
                                specified by
                                          by Google
                                             Google in
                                                    in writing, application preloads:
                                                       writing, application preloads:


                 • MUST
                 . MUST be
                        be available
                           available in
                                     in Google
                                        Google Play;
                                               Play;

                 • MUST
                 • MUST be
                        be offered
                           offered via
                                   via Play
                                       Play Auto-Insta11131
                                            Auto-InstaII 131 unless
                                                             unless agreed
                                                                    agreed upon
                                                                           upon otherwise
                                                                                otherwise in
                                                                                          in writing between Google
                                                                                             writing between Google and
                                                                                                                    and Company;
                                                                                                                        Company;
                 • MUST
                 • MUST NOT
                        NOT interfere
                            interfere with Premier requirements;
                                      with Premier requirements;
                 • MUST
                 . MUST NOT
                        NOT overlap
                            overlap with the following
                                    with the following Google
                                                       Google preloads
                                                              preloads in
                                                                       in terms
                                                                          terms of
                                                                                of the
                                                                                   the applications,
                                                                                       applications, features,
                                                                                                     features, or
                                                                                                               or functionality:
                                                                                                                  functionality: Chrome
                                                                                                                                 Chrome Browser,
                                                                                                                                        Browser,
                    Contacts, Duo,
                    Contacts, Duo, Gboard,
                                   Gboard, Gmail,
                                           Gmail, Google
                                                  Google Assistant,
                                                         Assistant, Google
                                                                    Google Calendar,
                                                                           Calendar, Google
                                                                                     Google Discover,
                                                                                            Discover, Google
                                                                                                      Google Lens,
                                                                                                             Lens, Google
                                                                                                                   Google News,
                                                                                                                          News, Google
                                                                                                                                Google One,
                                                                                                                                       One, Google
                                                                                                                                            Google
                    Pay, Google
                    Pay, Google Photos,
                                Photos, Google
                                        Google Play,
                                               Play, Google
                                                     Google Podcasts,
                                                            Podcasts, Google
                                                                      Google Search
                                                                             Search app,
                                                                                    app, Messages,
                                                                                         Messages, and
                                                                                                   and Phone
                                                                                                       Phone (Dialer);
                                                                                                             (Dialer); and
                                                                                                                       and
                 • MUST
                 • MUST NOT
                        NOT contain
                            contain INSTALL_PACKAGES
                                    INSTALL-PACKAGES permissions.
                                                     permissions.


               App placement
               App placement on
                             on the
                                the Default
                                    Default Home
                                            Home Screen
                                                 Screen is
                                                        is limited
                                                           limited to
                                                                   to two
                                                                      two (2)
                                                                          (2) rows
                                                                              rows of
                                                                                   of applications
                                                                                      applications and/or
                                                                                                   and/or folders
                                                                                                          folders in
                                                                                                                  in addition
                                                                                                                     addition to
                                                                                                                              to the
                                                                                                                                 the Application
                                                                                                                                     Application Dock.
                                                                                                                                                 Dock.




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                                                                                                                                               GOOG-PLAY-007125886

                                                                                                                                                    EXHIBIT 627-004
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               1Pinstallers
               1P installers and
                             and 3P
                                 3P engines
                                    engines powering
                                            powering 1P
                                                     ipinstallers
                                                        installers are
                                                                   are not
                                                                       not allowed
                                                                           allowed without Google's prior
                                                                                   without Google's prior review
                                                                                                          review and
                                                                                                                 and approval.
                                                                                                                     approval These
                                                                                                                               These installers
                                                                                                                                     installers and
                                                                                                                                                and
               enablers MUST
               enablers MUST comply
                             comply with the following:
                                    with the following:


                • Can
                . Can be
                      be used
                         used to
                              to install
                                 install apps
                                         apps automatically
                                              automatically ONLY
                                                            ONLY during
                                                                 during device
                                                                        device set-up;
                                                                               set-up;
                 • Should
                 • Should not
                          not change
                              change preset
                                     preset icon
                                            icon layouts;
                                                 layouts;
                 • Enable
                 • Enable user
                          user "opt-in"
                                opt-in" only
                                        only for
                                             for 3P
                                                 3P apps;
                                                    apps;
                  Comply with
                . Comply      Google's N;;
                         with Google's t/:',,  Pi',acy, and
                                           ,/, Nvaqy,   and Con
                                                              nno;      policies;
                                                                r.en;'. policies;
                 • Fix
                 • Fix any
                       any security
                           security and
                                    and privacy
                                        privacy issues
                                                issues as
                                                       as required
                                                          required by
                                                                   by Google;
                                                                      Google;
                 • Will
                 • Will not
                        not promote
                            promote Alternative
                                    Alternative Services;
                                                Services; and
                                                          and
                • Comply
                . Comply with the application
                         with the application preloads
                                              preloads rules
                                                       rules provided
                                                             provided in
                                                                      in this
                                                                         this Section
                                                                              Section 3.7
                                                                                      3.7 to
                                                                                          to the
                                                                                             the extent
                                                                                                 extent applicable.
                                                                                                        applicable.




               3.8
               3.8 UX principles
               Premier requirements
               Premier requirements have
                                    have been
                                         been designed
                                              designed to
                                                       to ensure
                                                          ensure that
                                                                 that Premier
                                                                      Premier Devices
                                                                              Devices are
                                                                                      are consistent
                                                                                          consistent in
                                                                                                     in their
                                                                                                        their core
                                                                                                              core interaction
                                                                                                                   interaction patterns.
                                                                                                                               patterns. The
                                                                                                                                         The requirements
                                                                                                                                             requirements
               are designed
               are designed to
                            to provide
                               provide enough
                                       enough flexibility
                                              flexibility to
                                                          to allow
                                                             allow partners
                                                                   partners to
                                                                            to express
                                                                               express their
                                                                                       their brand
                                                                                             brand and
                                                                                                   and enable
                                                                                                       enable a
                                                                                                              avisually
                                                                                                                visually coherent
                                                                                                                         coherent design
                                                                                                                                  design across
                                                                                                                                         across their
                                                                                                                                                their product
                                                                                                                                                      product
               portfolio while
               portfolio       enabling cross-device
                         while enabling cross-device consistency.
                                                     consistency. This
                                                                  This is
                                                                       is enabled
                                                                          enabled by
                                                                                  by adherence
                                                                                     adherence to
                                                                                               to the detailed requirements
                                                                                                  the detailed requirements below:
                                                                                                                            below:


                   Premier Devices
                 • Premier Devices are
                                   are STRONGLY
                                       STRONGLY RECOMMENDED
                                                RECOMMENDED to
                                                            to be
                                                               be internally
                                                                  internally consistent,
                                                                             consistent, meaning
                                                                                         meaning that
                                                                                                 that the
                                                                                                      the applications
                                                                                                          applications pre-loaded
                                                                                                                       pre-loaded on
                                                                                                                                  on a
                                                                                                                                     adevice
                                                                                                                                       device
                    follow the
                    follow the same
                               same overall
                                    overall layouts
                                            layouts and
                                                    and structures.
                                                        structures. This
                                                                    This is
                                                                         is enabled
                                                                            enabled by
                                                                                    by adherence
                                                                                       adherence to
                                                                                                 to Material
                                                                                                    Material Design
                                                                                                             Design patterns
                                                                                                                    patterns as
                                                                                                                             as described
                                                                                                                                described on
                                                                                                                                          on
                    hht.ns-iirnaterW
                          -J,/n:nteon in.
                   Premier Devices
                 • Premier Devices SHOULD
                                   SHOULD be
                                          be consistent
                                             consistent across
                                                        across brands,
                                                               brands, and
                                                                       and thereby
                                                                           thereby be
                                                                                   be easy
                                                                                      easy to
                                                                                           to support
                                                                                              support from
                                                                                                      from a
                                                                                                           adistributor
                                                                                                             distributor perspective.
                                                                                                                         perspective. This
                                                                                                                                      This is
                                                                                                                                           is achieved
                                                                                                                                              achieved
                    through a
                    through aconsistent
                              consistent set
                                         set of
                                             of pre-loaded
                                                pre-loaded applications
                                                           applications and
                                                                        and the
                                                                            the common
                                                                                common structure
                                                                                       structure of
                                                                                                 of views
                                                                                                    views such
                                                                                                          such as
                                                                                                               as Home
                                                                                                                  Home screen,
                                                                                                                       screen, Notification
                                                                                                                               Notification shade,
                                                                                                                                            shade, and
                                                                                                                                                   and
                    Settings app.
                    Settings app.
                   Premier Devices
                 • Premier Devices SHOULD
                                   SHOULD be
                                          be easy
                                             easy to
                                                  to use
                                                     use and
                                                         and switch
                                                             switch between.
                                                                    between. This
                                                                             This is
                                                                                  is enabled
                                                                                     enabled through
                                                                                             through consistent
                                                                                                     consistent interaction
                                                                                                                interaction patterns,
                                                                                                                            patterns, consistent
                                                                                                                                      consistent OS
                                                                                                                                                 OS
                    structure, and
                    structure, and consistent
                                   consistent application
                                              application pre-loads.
                                                          pre-loads.
                  Premier Devices
                . Premier Devices SHOULD
                                  SHOULD be
                                         be accessible
                                            accessible to
                                                       to users
                                                          users of
                                                                of various
                                                                   various abilities.
                                                                           abilities. Guidelines
                                                                                      Guidelines are
                                                                                                 are available
                                                                                                     available at
                                                                                                               at
                    ht-t00!fl1?0jd1i3tyJ00C3ty,t0.
                       tDs/mae;la€jojdeskgiisz.
                                              ,
                                              ,b€i-tvlac,'cess ity.htmW.



               3.8.1 Homescreen
               3.8.1 Homescreen
                 • Homescreen
                 • Homescreen MUST
                              MUST have
                                   have a
                                        a5-column
                                          5-column or
                                                   or 4-column
                                                      4-column grid
                                                               grid by
                                                                    by default.
                                                                       default.
                 • Long-press
                 • Long-press on
                              on an
                                 an empty
                                    empty space
                                          space in
                                                in homescreen
                                                   homescreen MUST
                                                              MUST open
                                                                   open a
                                                                        amenu
                                                                          menu that
                                                                               that gives
                                                                                    gives access
                                                                                          access to
                                                                                                 to Homescreen
                                                                                                    Homescreen settings,
                                                                                                               settings, Wallpaper
                                                                                                                         Wallpaper settings,
                                                                                                                                   settings, and
                                                                                                                                             and
                    Widget settings.
                    Widget settings.
                  All-apps tray
                . All-apps tray apps
                                apps SHOULD
                                     SHOULD be
                                            be arranged
                                               arranged in
                                                        in alphabetical
                                                           alphabetical order.
                                                                        order.
                • An
                . An optional
                     optional homescreen
                              homescreen design
                                         design without an all-apps
                                                without an all-apps tray/drawer
                                                                    tray/drawer MAY
                                                                                MAY be
                                                                                    be preloaded.
                                                                                       preloaded. The
                                                                                                  The layout
                                                                                                      layout of
                                                                                                             of the
                                                                                                                the Application
                                                                                                                    Application Dock
                                                                                                                                Dock and
                                                                                                                                     and Default
                                                                                                                                         Default
                    Home Screen
                    Home Screen are
                                are consistent
                                    consistent with the standard
                                               with the standard requirements,
                                                                 requirements, and
                                                                               and the
                                                                                   the icons
                                                                                       icons not
                                                                                             not visible
                                                                                                 visible on
                                                                                                         on Default
                                                                                                            Default Home
                                                                                                                    Home Screen
                                                                                                                         Screen MUST
                                                                                                                                MUST be
                                                                                                                                     be accessible
                                                                                                                                        accessible by
                                                                                                                                                   by
                    swiping to
                    swiping to the
                               the next
                                   next homescreen
                                        homescreen pane
                                                   pane to
                                                        to the
                                                           the right.
                                                               right. No
                                                                      No application
                                                                         application icons
                                                                                     icons may
                                                                                           may have
                                                                                               have multiple
                                                                                                    multiple instances
                                                                                                             instances when
                                                                                                                       when aahomescreen
                                                                                                                              homescreen without all-
                                                                                                                                         without all-
                    apps tray/drawer
                    apps tray/drawer is
                                     is used.
                                        used.




               3.8.2
               3     Quick Settings
                .8.2 Quick Settings
                   Quick Settings
                 • Quick Settings SHOULD
                                  SHOULD be
                                         be available
                                            available by
                                                      by swiping
                                                         swiping down
                                                                 down from
                                                                      from the
                                                                           the top of the
                                                                               top of     screen.
                                                                                      the screen.
                 • One
                 • One row
                       row of
                           of 6
                              6or
                                or 5
                                   5Quick
                                     Quick Settings
                                           Settings SHOULD
                                                    SHOULD be
                                                           be available
                                                              available on
                                                                        on top
                                                                           top of
                                                                               of the
                                                                                  the notification
                                                                                      notification list.
                                                                                                   list.
                 • The
                 • The Quick
                       Quick Settings
                             Settings SHOULD
                                      SHOULD follow
                                             follow the
                                                    the order
                                                        order of
                                                              of AOSP
                                                                 AOSP Quick
                                                                      Quick Settings.
                                                                            Settings.




               3.8.3
               3     Notification behavior
                .8.3 Notification behavior
                • The
                . The categorization
                      categorization and
                                     and default
                                         default visibility
                                                 visibility of
                                                            of notifications
                                                               notifications SHOULD
                                                                             SHOULD follow
                                                                                    follow that
                                                                                           that of
                                                                                                of the
                                                                                                   the AOSP
                                                                                                       AOSP version
                                                                                                            version running
                                                                                                                    running on
                                                                                                                            on the
                                                                                                                               the device.
                                                                                                                                   device.
                 • The
                 • The device
                       device SHOULD
                              SHOULD support
                                     support rich
                                             rich notifications.
                                                  notifications.
                • The
                . The device
                      device SHOULD
                             SHOULD present
                                    present high
                                            high priority
                                                 priority notifications
                                                          notifications as
                                                                        as heads-up
                                                                           heads-up notifications.
                                                                                    notifications.




               3.8.4
               3     Settings structure
                .8.4 Settings structure
                 • The
                 • The pre-loaded
                       pre-loaded Settings
                                  Settings app
                                           app SHOULD
                                               SHOULD use
                                                      use the
                                                          the order
                                                              order of
                                                                    of AOSP
                                                                       AOSP Settings
                                                                            Settings app.
                                                                                     app.
                 • The
                 • The pre-loaded
                       pre-loaded Settings
                                  Settings app
                                           app SHOULD
                                               SHOULD use
                                                      use the
                                                          the terminology
                                                              terminology of
                                                                          of the
                                                                             the AOSP
                                                                                 AOSP Settings
                                                                                      Settings app.
                                                                                               app.
                 • Company
                 • Company features
                           features SHOULD
                                    SHOULD be
                                           be placed
                                              placed under
                                                     under existing
                                                           existing categories
                                                                    categories from
                                                                               from AOSP
                                                                                    AOSP Settings
                                                                                         Settings app.
                                                                                                  app.
                   Company SHOULD
                 • Company SHOULD NOT
                                  NOT add
                                      add more
                                          more categories
                                               categories on
                                                          on the
                                                             the top
                                                                 top level
                                                                     level of
                                                                           of the
                                                                              the AOSP
                                                                                  AOSP Settings
                                                                                       Settings app.
                                                                                                app.
                 • Company
                 • Company SHOULD
                           SHOULD NOT
                                  NOT remove
                                      remove a
                                             asetting
                                               setting from
                                                       from an
                                                            an existing
                                                               existing category
                                                                        category in
                                                                                 in the
                                                                                    the AOSP
                                                                                        AOSP Settings
                                                                                             Settings app.
                                                                                                      app.
                 • Company
                 • Company MAY
                           MAY duplicate
                               duplicate the
                                         the same
                                             same setting
                                                  setting in two
                                                             two categories
                                                                 categories if
                                                                            if user
                                                                               user research
                                                                                    research indicates
                                                                                             indicates that
                                                                                                       that this
                                                                                                            this is a
                                                                                                                    adesired
                                                                                                                      desired entry
                                                                                                                              entry point
                                                                                                                                    point for
                                                                                                                                          for this
                                                                                                                                              this setting.
                                                                                                                                                   setting.
                 • Settings
                 • Settings iconography
                            iconography SHOULD
                                        SHOULD use
                                               use the
                                                   the same
                                                       same symbols
                                                            symbols as
                                                                    as AOSP
                                                                       AOSP Settings
                                                                            Settings app.
                                                                                     app.
                 • Settings
                 • Settings color
                            color coding
                                  coding SHOULD
                                         SHOULD follow
                                                follow a
                                                       asimilar
                                                         similar color
                                                                 color palette
                                                                       palette as
                                                                               as AOSP
                                                                                  AOSP Settings
                                                                                       Settings app.
                                                                                                app.




               3.8.5
               3     Always-on-Display
                .8.5 Always-on-Display
               Always-on-Display SHOULD
               Always-on-Display SHOULD show:
                                        show:




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                                                                                                                                                  GOOG-PLAY-007125887

                                                                                                                                                       EXHIBIT 627-005
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                 • Time
                 • Time
                 • Date
                 • Date
                 • Battery
                 • Battery level
                           level
                 • Charging
                 • Charging status
                            status
                 • Notifications
                 • Notifications per
                                 per order
                                     order of
                                           of the
                                              the AOSP
                                                  AOSP version
                                                       version that
                                                               that is
                                                                    is running
                                                                       running on
                                                                               on the
                                                                                  the device
                                                                                      device




               3.8.6
               3     Lockscreen
                .8.6 Lockscreen
               The lockscreen
               The lockscreen SHOULD
                              SHOULD contain:
                                     contain:

                 • An
                 . An indication
                      indication that
                                 that the
                                      the device
                                          device is
                                                 is locked
                                                    locked (text
                                                           (text and/or
                                                                 and/or icon)
                                                                        icon)
                 • Carrier
                 . Carrier info
                           info on
                                on top
                                   top left
                                       left status
                                            status bar
                                                   bar area
                                                       area
                 • System
                 • System icons
                          icons on
                                on top
                                   top right
                                       right status
                                             status bar
                                                    bar area
                                                        area
                 • Top
                 • Top 3
                       3notifications
                         notifications per
                                       per AOSP
                                           AOSP notification
                                                notification ranking
                                                             ranking
                 •A
                 • Arow
                    row of
                        of icons
                           icons showing
                                 showing other
                                         other missed
                                               missed notifications
                                                      notifications
                 •A
                 . Aswipe
                    swipe from
                          from the
                               the top
                                   top reveals
                                       reveals the
                                               the quick
                                                   quick settings
                                                         settings
                 •A
                 • Adownward
                    downward swipe
                             swipe on
                                   on a
                                      anotification
                                        notification enters
                                                     enters a
                                                            astate
                                                              state where all notifications
                                                                    where all notifications are
                                                                                            are expanded
                                                                                                expanded and
                                                                                                         and can
                                                                                                             can be
                                                                                                                 be scroll
                                                                                                                    scroll as
                                                                                                                           as well as one
                                                                                                                              well as one row
                                                                                                                                          row of
                                                                                                                                              of quick
                                                                                                                                                 quick
                    settings icons
                    settings icons
                 • In
                 . In the
                      the lockscreen,
                          Iockscreen, a
                                      auser
                                        user is
                                             is able
                                                able to
                                                     to toggle
                                                        toggle on/off
                                                               on/off quick
                                                                      quick settings
                                                                            settings without authenticating
                                                                                     without authenticating
                 • In
                 . In the
                      the lockscreen,
                          Iockscreen, a
                                      auser
                                        user is
                                             is able
                                                able to
                                                     to dismiss
                                                        dismiss non-persistent
                                                                non-persistent notifications
                                                                               notifications without authenticating
                                                                                             without authenticating



               3.8.7
               3     Status bar
                .8.7 Status bar
                 • Clock
                 • Clock SHOULD
                         SHOULD be
                                be placed
                                   placed on
                                          on the
                                             the left-hand
                                                 left-hand side
                                                           side of
                                                                of the
                                                                   the status
                                                                       status bar.
                                                                              bar.
                 • The
                 • The following
                       following icons
                                 icons SHOULD
                                       SHOULD be
                                              be shown
                                                 shown in
                                                       in the
                                                          the right
                                                              right side
                                                                    side of
                                                                         of the
                                                                            the status
                                                                                status bar
                                                                                       bar (from
                                                                                           (from right
                                                                                                 right to
                                                                                                       to left):
                                                                                                          left): Battery
                                                                                                                 Battery level,
                                                                                                                         level, Signal
                                                                                                                                Signal strength,
                                                                                                                                       strength, and
                                                                                                                                                 and Wi-Fi
                                                                                                                                                     Wi-Fi
                    strength.
                    strength.
                 • There
                 • There SHOULD
                         SHOULD be
                                be 5
                                   5slots
                                     slots for
                                           for system
                                               system icons
                                                      icons on
                                                            on the
                                                               the right
                                                                   right side
                                                                         side of
                                                                              of the
                                                                                 the status
                                                                                     status bar
                                                                                            bar (3
                                                                                                (3 + 2
                                                                                                     2dynamic).
                                                                                                       dynamic).
                           If more
                        oo If more than
                                   than 5
                                        Ssystem
                                          system icons
                                                 icons are
                                                       are active,
                                                           active, the
                                                                   the system
                                                                       system should
                                                                              should show
                                                                                     show 4
                                                                                          4icons
                                                                                            icons + an
                                                                                                    an overflow
                                                                                                       overflow icon
                                                                                                                icon (e.g.
                                                                                                                     (e.g. 3
                                                                                                                           3dots).
                                                                                                                             dots).
                           When the
                        oo When the status
                                    status bar
                                           bar is
                                               is pulled
                                                  pulled down
                                                         down and
                                                              and the
                                                                  the notification
                                                                      notification shade
                                                                                   shade is
                                                                                         is expanded,
                                                                                            expanded, the
                                                                                                      the complete
                                                                                                          complete set
                                                                                                                   set of
                                                                                                                       of active
                                                                                                                          active system
                                                                                                                                 system icons
                                                                                                                                        icons SHOULD
                                                                                                                                              SHOULD be
                                                                                                                                                     be
                          shown.
                          shown.
                           The order
                        oo The order of
                                     of icon
                                        icon visibility
                                             visibility SHOULD
                                                        SHOULD be:
                                                               be:
                             1. Battery
                             1. Battery (or
                                        (or Battery
                                            Battery saver)
                                                    saver)
                             2.. Mobile
                             2   Mobile signal
                                        signal strength
                                               strength (or
                                                        (or Airplane
                                                            Airplane mode)
                                                                     mode)
                             3.. Wi-fl
                             3   Wi-fl strength
                                       strength (or
                                                (or Mobile
                                                    Mobile network
                                                           network speed
                                                                   speed or
                                                                         or Hotspot)
                                                                            Hotspot)
                             4.. DND
                             4   DND /
                                     /Vibrate
                                       Vibrate
                             5.. Location
                             5   Location
                             6. VPN
                             6. VPN
                             7.. Cast
                             7   Cast
                             8, Work
                             8. Work profile
                                     profile
                             9.. Bluetooth
                             9   Bluetooth
                            10. Alarm
                            10. Alarm
                 • Notification
                 . Notification icons
                                icons SHOULD
                                      SHOULD be
                                             be shown
                                                shown on
                                                      on the
                                                         the left
                                                             left side
                                                                  side of
                                                                       of the
                                                                          the status
                                                                              status bar
                                                                                     bar
                           There SHOULD
                        oo There SHOULD be
                                        be 3
                                           3slots
                                             slots on
                                                   on the
                                                      the right
                                                          right side
                                                                side of
                                                                     of the clock.
                                                                        the clock.
                           If more
                        oo If more than
                                   than 3
                                        3Notification
                                          Notification icons
                                                       icons are
                                                             are active,
                                                                 active, the
                                                                         the system
                                                                             system should
                                                                                    should show
                                                                                           show 2
                                                                                                2icons
                                                                                                  icons + an
                                                                                                          an overflow
                                                                                                             overflow icon
                                                                                                                      icon (e.g.
                                                                                                                           (e.g. 3
                                                                                                                                 3dots).
                                                                                                                                   dots).




               4..Text
               4  Text Spec
                       Spec
                [OEM]
               [OEM]



               4.1 Text
               4.1 Text Spec
                        Spec
               The following
               The following text
                             text spec
                                  spec MUST
                                       MUST be
                                            be included
                                               included with Premier Devices:
                                                        with Premier Devices:

                 • Text
                 . Text spec:
                        spec: "with easy access
                               with easy access to
                                                to the
                                                   the Google
                                                       Google apps
                                                              apps you use most
                                                                   you use most"..
                 • Translations
                 . Translations to the text
                                to the text spec
                                            spec can
                                                 can be
                                                     be found
                                                        found

               The placement
               The placement of
                             of the
                                the text
                                    text spec
                                         spec is
                                              is STRONGLY
                                                 STRONGLY RECOMMENDED
                                                          RECOMMENDED to
                                                                      to adhere
                                                                         adhere to
                                                                                to the
                                                                                   the following
                                                                                       following guidelines:
                                                                                                 guidelines:

                 • Order
                 • Order of
                         of preference:
                            preference: 1)
                                        1) Front
                                           Front of
                                                 of the
                                                    the box
                                                        box (bottom
                                                            (bottom right);
                                                                    right); 2)
                                                                            2) Top
                                                                               Top or
                                                                                   or side
                                                                                      side panel
                                                                                           panel of
                                                                                                 of the
                                                                                                    the box;
                                                                                                        box; 3)
                                                                                                             3) Back
                                                                                                                Back of
                                                                                                                     of the
                                                                                                                        the box.
                                                                                                                            box.
                 • If
                 • If the
                      the box
                          box includes
                              includes an
                                       an Android
                                          Android logo,
                                                  logo, center
                                                        center align
                                                               align the
                                                                     the text
                                                                         text spec
                                                                              spec below
                                                                                   below Android
                                                                                         Android logo.
                                                                                                 logo.
                 • If
                 • If the
                      the box
                          box features
                              features a
                                       aGoogle
                                         Google Assistant
                                                Assistant logo,
                                                          logo, do
                                                                do not
                                                                   not use
                                                                       use the
                                                                           the text
                                                                               text spec
                                                                                    spec as
                                                                                         as a
                                                                                            alockup
                                                                                              lockup with the Google
                                                                                                     with the Google Assistant
                                                                                                                     Assistant logo.
                                                                                                                               logo. This
                                                                                                                                     This includes
                                                                                                                                          includes Android
                                                                                                                                                   Android
                    One with
                    One      Google Assistant
                        with Google Assistant lockup.
                                              lockup.
                 • If
                 • If the
                      the box
                          box lists
                              lists KSPs
                                    KSPs (key
                                         (key selling
                                              selling points),
                                                      points), include
                                                               include the
                                                                       the text
                                                                           text spec
                                                                                spec below
                                                                                     below KSPs
                                                                                           KSPs in
                                                                                                in plain
                                                                                                   plain text.
                                                                                                         text.
                   No required
                 • No required font
                               font or
                                    or color
                                       color --just
                                             --just match
                                                    match the look and
                                                          the look and feel
                                                                       feel of
                                                                            of Company's
                                                                               Company's creative.
                                                                                         creative.

               Alternative placements
               Alternative placements to
                                      to be
                                         be approved
                                            approved by
                                                     by Google
                                                        Google in
                                                               in writing.
                                                                  writing.

               Asset approval
               Asset approval MUST
                              MUST be
                                   be requested
                                      requested through
                                                through the
                                                        the Part
                                                            Pt:c:'
                                                               ,, Mv'etH•t Hub




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                                                                                                                                                   GOOG-PLAY-007125888

                                                                                                                                                        EXHIBIT 627-006
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               5. Program review process
               5.
                [OEM]
               [OEM]



               5.1 Product
               5.1 Product Development
                           Development
               Google and
               Google and Company
                          Company will collaborate in
                                  will collaborate in good
                                                      good faith
                                                           faith to
                                                                 to optimize
                                                                    optimize and
                                                                             and develop
                                                                                 develop Android
                                                                                         Android software
                                                                                                 software and
                                                                                                          and Premier
                                                                                                              Premier Devices,
                                                                                                                      Devices, including
                                                                                                                               including in
                                                                                                                                         in respect
                                                                                                                                            respect of:
                                                                                                                                                    of:

                 • Premier
                 • Premier Device
                           Device hardware
                                  hardware testing;
                                           testing;
                 • Premier
                 • Premier Device
                           Device software
                                  software testing; and
                                           testing; and
                 • Improving
                 • Improving user
                             user experience
                                  experience and
                                             and Premier
                                                 Premier Device
                                                         Device monetization.
                                                                monetization.

               To facilitate
               To facilitate achievement
                             achievement of
                                         of the
                                            the foregoing,
                                                foregoing, representatives
                                                           representatives from
                                                                           from Google
                                                                                Google and
                                                                                       and Company
                                                                                           Company will meet on
                                                                                                   will meet on a
                                                                                                                aregular
                                                                                                                  regular basis
                                                                                                                          basis to
                                                                                                                                to review
                                                                                                                                   review Premier
                                                                                                                                          Premier
               Devices and
               Devices and triage
                           triage user
                                  user experience
                                       experience issues,
                                                  issues, ideally
                                                          ideally commencing
                                                                  commencing from
                                                                             from four
                                                                                  four (4)
                                                                                       (4) months
                                                                                           months before
                                                                                                  before Launch.
                                                                                                         Launch.

               Google's involvement
               Google's involvement in
                                    in the
                                       the technical
                                           technical development
                                                     development of
                                                                 of Premier
                                                                    Premier Devices
                                                                            Devices is
                                                                                    is solely
                                                                                       solely of
                                                                                              of an
                                                                                                 an advisory
                                                                                                    advisory nature
                                                                                                             nature and
                                                                                                                    and Google
                                                                                                                        Google is
                                                                                                                               is under
                                                                                                                                  under no
                                                                                                                                        no obligation
                                                                                                                                           obligation to
                                                                                                                                                      to
               provide direct
               provide direct development,
                              development, engineering,
                                           engineering, or
                                                        or related
                                                           related resources,
                                                                   resources, except
                                                                              except as
                                                                                     as otherwise
                                                                                        otherwise agreed
                                                                                                  agreed in
                                                                                                         in the
                                                                                                            the agreements.
                                                                                                                agreements.




               5.2 Test
               5.2 Test Device
                        Device Support
                               Support
               Company MUST
               Company MUST provide
                            provide Google
                                    Google with up to
                                           with up to three
                                                      three (3)
                                                            (3) Premier
                                                                Premier Devices
                                                                        Devices for
                                                                                for testing
                                                                                    testing and
                                                                                            and verification
                                                                                                verification purposes
                                                                                                             purposes and
                                                                                                                      and will use reasonable
                                                                                                                          will use reasonable efforts
                                                                                                                                              efforts to
                                                                                                                                                      to
               provide the
               provide the Test
                           Test Devices
                                Devices at
                                        at a
                                           aminimum
                                             minimum of
                                                     of eight
                                                        eight (8)
                                                              (8) weeks before initial
                                                                  weeks before initial device
                                                                                       device factory
                                                                                              factory firmware
                                                                                                      firmware approval.
                                                                                                               approval.

               At Google's
               At Google's request,
                           request, Company
                                    Company MUST
                                            MUST provide
                                                 provide (i)
                                                         (i) up
                                                             up to
                                                                to thirty-five
                                                                   thirty-five (35)
                                                                               (35) additional
                                                                                    additional Test
                                                                                               Test Devices
                                                                                                    Devices (for
                                                                                                            (for up
                                                                                                                 up to
                                                                                                                    to four
                                                                                                                       four (4)
                                                                                                                            (4) Premier
                                                                                                                                Premier Device
                                                                                                                                        Device Models
                                                                                                                                               Models each
                                                                                                                                                      each
               calendar year)
               calendar       for country-specific
                        year) for country-specific testing
                                                   testing and
                                                           and product
                                                               product development
                                                                       development purposes
                                                                                   purposes with
                                                                                            with aanumber
                                                                                                   number to
                                                                                                          to be
                                                                                                             be discussed
                                                                                                                discussed on
                                                                                                                          on a
                                                                                                                             acountry-by-country
                                                                                                                               country-by-country basis
                                                                                                                                                  basis
               and (ii)
               and (ii) pre-production
                        pre-production verification
                                       verification testing
                                                    testing samples
                                                            samples for
                                                                    for the
                                                                        the purpose
                                                                            purpose of
                                                                                    of Google's
                                                                                       Google's testing
                                                                                                testing and
                                                                                                        and verification.
                                                                                                            verification.




               Footnotes
               Footnotes
                 • 1:
                 • 1: GMS
                      GMS Requirements:
                          Requirements: GW
                                        0MG HE'AD
                                            Hdo
                 • 2:
                 . 2: Geo-Availability:
                      ceo-Availability: Got'
                                        c,Ms, HeM
                                              HeM G.eete
                                                  G.eete tOme
                                                         Pme, Simm HeM
                                                                   HeM Ce
                                                                       Ce;e
                                                                        ,,   Poe
                                                                          t+ tOme
                 • 3:
                 . 3: Play
                      Play Auto
                           Auto Install:
                                Install: GMS
                                         0MG HeiD
                                             HeM
                 • 4:
                 • 4: Search
                      Search Launcher
                             Launcher Services
                                      Services API:
                                               API: C'MF,
                                                    0MG Hcrs€
                                                          HeM
                                                            ,Geete
                 • 5:
                 • 5: EEA
                      EEA Search:
                          Search: GUS
                                  (,HIG HeM
                                        Hub Cenim
                                            Cun:e C3:'rier
                                                  Cerier Help
                                                           Hbp Center
                                                               Center art:ids
                                                                         bee
                 • 6:
                 . 6: Russia
                      Russia Builds:
                             Builds: 0MG
                                     0MG Heo
                                         HeM ar:ter,
                                             Center, Carrier-
                                                     Cerrier Help
                                                              i-iMp Center
                                                                    rterCer •=rtHr
                                                                            arGUen
                                                                                 ,s
                 • 7:
                 . 7: Google
                      Google Communication
                             Communication Apps:
                                           Apps: 0MG
                                                 0MG Help
                                                     HMp Center
                                                          Center
                 • 8:
                 • 8: Duo:
                      Duo: 0lv1::
                           0MG HeM Cer:t.r,
                                   Center, Dec
                                            Dec luaU, HeM Center sruc:iee
                 • 9:
                 • 9: Audio-based
                      Audio-based features:
                                  features: GUS
                                            CHIC Hub Cunuu Carrier
                                                           Carrier Help
                                                                   Help Center
                                                                        Center articles
                                                                               articles




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                                                                                                                                                     EXHIBIT 627-007
